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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


NEIL ZLOZOWER,                                        Case No. 1:20-cv-1855-KPF
                Plaintiff,
vs.
GANNETT SATELLITE INFORMATION
NETWORK, LLC,
                Defendant.



                             STIPULATED PROTECTIVE ORDER
 1.      PURPOSES AND LIMITATIONS

         Discovery in this action is likely to involve production of confidential, proprietary, or

 private information for which special protection may be warranted. Accordingly, the parties

 hereby stipulate to and petition the court to enter the following Stipulated Protective Order. The

 parties acknowledge that this agreement does not confer blanket protection on all disclosures or

 responses to discovery, the protection it affords from public disclosure and use extends only to

 the limited information or items that are entitled to confidential treatment under the applicable

 legal principles, and it does not presumptively entitle parties to file confidential information

 under seal.
         After this Stipulated Protective Order has been signed by counsel for all Parties, it shall

 be presented to the Court for entry. Counsel agree to be bound by the terms set forth herein

 before the Court signs this Stipulated Protective Order.

 2.      “CONFIDENTIAL” MATERIAL

         “Confidential” material shall include the following documents and tangible things

 produced or otherwise exchanged: the parties’ commercially sensitive information including, but

 not limited to, documents regarding the parties’ business practices or strategies including




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confidential advertising information, viewership information, or information regarding

journalistic standards and practices.

        “Attorneys’ Eyes Only” material shall include highly sensitive business plans and

strategies. In addition, the parties may designate any other “Confidential” material as Attorney’s

Eyes Only.      The dissemination of material designated as Attorneys’ Eyes Only shall be

controlled by Section 4.2 of this Order, and challenges to Attorneys’ Eyes Only designations

shall follow the process detailed in Section 6 of this Order for confidential material.

3.      SCOPE
        The protections conferred by this agreement cover not only confidential material (as

defined above), but also (1) any information copied or extracted from confidential material; (2)

all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,

conversations, or presentations by parties or their counsel that might reveal confidential material.

        However, the protections conferred by this agreement do not cover information that is in

the public domain or becomes part of the public domain through trial or otherwise.

4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

        4.1     Basic Principles. A receiving party may use confidential material that is disclosed

or produced by another party or by a non-party in connection with this case only for prosecuting,

defending, or attempting to settle this litigation. Confidential material may be disclosed only to

the categories of persons and under the conditions described in this agreement. Confidential

material must be stored and maintained by a receiving party at a location and in a secure manner

that ensures that access is limited to the persons authorized under this agreement.

        4.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

ordered by the court or permitted in writing by the designating party, a receiving party may

disclose any confidential material only to:

                (a)    the receiving party’s counsel of record in this action, as well as employees

of counsel to whom it is reasonably necessary to disclose the information for this litigation;



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                (b)     the officers, directors, and employees (including in house counsel) of the

receiving party to whom disclosure is reasonably necessary for this litigation, unless a particular

document or material produced is designated for Attorney’s Eyes Only, in which case, the

document or material shall be disclosed only to each party’s respective legal counsel as well as

the other categories of individuals specified in subjections (a), (c), (d), (e), (f), and (g) of this

Section;

                (c)     experts and consultants to whom disclosure is reasonably necessary for

this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

A);
                (d)     the court, court personnel, and court reporters and their staff;

                (e)     copy or imaging services retained by counsel to assist in the duplication of

confidential material, provided that counsel for the party retaining the copy or imaging service

instructs the service not to disclose any confidential material to third parties and to immediately

return all originals and copies of any confidential material;

                (f)     during their depositions, witnesses in the action to whom disclosure is

reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”

(Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of

transcribed deposition testimony or exhibits to depositions that reveal confidential material must

be separately bound by the court reporter and may not be disclosed to anyone except as permitted

under this agreement;

                (g)     the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information.

        4.3     Filing Confidential Material.

        Before filing confidential material or discussing or referencing such material in court

filings, the filing party shall confer with the designating party to determine whether the

designating party will remove the confidential designation, whether the document can be

redacted, or whether a motion to seal or stipulation and proposed order is warranted.

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        Subject to Federal Rule of Civil Procedure 5.2, a party who seeks permission to file under

seal in this case shall electronically file a Motion or Letter Motion to Seal through the Court’s

ECF system.         A party who seeks to maintain the confidentiality of its information must

demonstrate that the interest to be protected by filing under seal outweighs the presumption of

public access, even if it is not the party filing the motion to seal. Sealed documents are to be

filed electronically on CM/ECF, and are subject to the Southern District of New York’s

Electronic Case Filing Rules & Instructions, § 6.          A Motion to Seal is not required for

information redacted in accordance with Federal Rule of Civil Procedure 5.2(a).
5.      DESIGNATING PROTECTED MATERIAL
        5.1     Exercise of Restraint and Care in Designating Material for Protection. Each party

or non-party that designates information or items for protection under this agreement must take

care to limit any such designation to specific material that qualifies under the appropriate

standards. The designating party must designate for protection only those parts of material,

documents, items, or oral or written communications that qualify, so that other portions of the

material, documents, items, or communications for which protection is not warranted are not

swept unjustifiably within the ambit of this agreement.

        If it comes to a designating party’s attention that information or items that it designated

for protection do not qualify for protection, the designating party must promptly notify all other

parties that it is withdrawing the mistaken designation.

        5.2     Manner and Timing of Designations. Except as otherwise provided in this

agreement, or as otherwise stipulated or ordered, disclosure or discovery material that qualifies

for protection under this agreement must be clearly so designated before or when the material is

disclosed or produced.

                (a)      Information in documentary form: (e.g., paper or electronic documents

and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial

proceedings), the designating party must affix the word “CONFIDENTIAL” to each page that

contains confidential material, or ATTORNEYS’ EYES ONLY for each page that contains

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Attorneys’ Eyes Only material. If only a portion or portions of the material on a page qualifies

for protection, the producing party also must clearly identify the protected portion(s) (e.g., by

making appropriate markings in the margins).

                (b)    Testimony given in deposition or in other pretrial proceedings: the parties

and any participating non-parties must identify on the record, during the deposition or other

pretrial proceeding, all protected testimony, without prejudice to their right to so designate other

testimony after reviewing the transcript. Any party or non-party may, within fifteen days after

receiving the transcript of the deposition or other pretrial proceeding, designate portions of the

transcript, or exhibits thereto, as confidential or Attorneys’ Eyes Only. If a party or non-party
desires to protect confidential information at trial, the issue should be addressed during the pre-

trial conference.

                (c)    Other tangible items: the producing party must affix in a prominent place

on the exterior of the container or containers in which the information or item is stored the word

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.” If only a portion or portions of the

information or item warrant protection, the producing party, to the extent practicable, shall

identify the protected portion(s).

        5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

designate qualified information or items does not, standing alone, waive the designating party’s

right to secure protection under this agreement for such material. Upon timely correction of a

designation, the receiving party must make reasonable efforts to ensure that the material is

treated in accordance with the provisions of this agreement.

6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

        6.1     Timing of Challenges. Any party or non-party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the litigation, a party does not waive its right to



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challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.

        6.2     Meet and Confer. The parties must make every attempt to resolve any dispute

regarding confidential designations without court involvement. Any motion regarding

confidential designations or for a protective order must include a certification, in the motion or in

a declaration or affidavit, that the movant has engaged in a good faith meet and confer

conference with other affected parties in an effort to resolve the dispute without court action. The

certification must list the date, manner, and participants to the conference. A good faith effort to

confer requires a face-to-face meeting or a telephone conference.
        6.3     Judicial Intervention. If the parties cannot resolve a challenge without court

intervention, the designating party may file and serve a motion to retain confidentiality under

Local Civil Rules 7.1 and 37.2. The burden of persuasion in any such motion shall be on the

designating party. All parties shall continue to maintain the material in question as confidential

until the court rules on the challenge.

7.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

LITIGATION

        If a party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as “CONFIDENTIAL,” that

party must:

                (a)    promptly notify the designating party in writing and include a copy of the

subpoena or court order;

                (b)    promptly notify in writing the party who caused the subpoena or order to

issue in the other litigation that some or all of the material covered by the subpoena or order is

subject to this agreement. Such notification shall include a copy of this agreement; and

                (c)    cooperate with respect to all reasonable procedures sought to be pursued

by the designating party whose confidential material may be affected.



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8.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

        If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential

material or Attorneys’ Eyes Only material to any person or in any circumstance not authorized

under this agreement, the receiving party must immediately (a) notify in writing the designating

party of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of

the protected material, (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this agreement, and (d) request that such person or persons execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

9.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
MATERIAL
        When a producing party gives notice to receiving parties that certain inadvertently

produced material is subject to a claim of privilege or other protection, the obligations of the

receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). The parties

agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.

10.     NON TERMINATION AND RETURN OF DOCUMENTS
        Within 60 days after the termination of this action, including all appeals, each receiving

party must return all confidential material to the producing party, including all copies, extracts

and summaries thereof. Alternatively, the parties may agree upon appropriate methods of

destruction.

        Notwithstanding this provision, counsel are entitled to retain one archival copy of all

documents filed with the court, trial, deposition, and hearing transcripts, correspondence,

deposition and trial exhibits, expert reports, attorney work product, and consultant and expert

work product, even if such materials contain confidential material.

        The confidentiality obligations imposed by this agreement shall remain in effect until a

designating party agrees otherwise in writing or a court orders otherwise.



                    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

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        PURSUANT TO STIPULATION, IT IS SO ORDERED

IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any

documents in this proceeding shall not, for the purposes of this proceeding or any other

federal or state proceeding, constitute a waiver by the producing party of any privilege

applicable to those documents, including the attorney-client privilege, attorney work-product

protection, or any other privilege or protection recognized by law.




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                                           EXHIBIT A

                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
        I,     ____________________________________         [print   or   type   full   name],   of

____________________________________ [print or type full address], declare under penalty of

perjury that I have read in its entirety and understand the Stipulated Protective Order that was

issued by the United States District Court for the Southern District of New York on [date] in the

case of Neil Zlozower v. Gannett Satellite Information Network, LLC, Case No. 1:20-cv-1855-

KPF. I agree to comply with and to be bound by all the terms of this Stipulated Protective Order

and I understand and acknowledge that failure to so comply could expose me to sanctions and

punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner

any information or item that is subject to this Stipulated Protective Order to any person or entity

except in strict compliance with the provisions of this Order.

        I further agree to submit to the jurisdiction of the United States District Court for the

Southern District of New York for the purpose of enforcing the terms of this Stipulated

Protective Order, even if such enforcement proceedings occur after termination of this action.

Date:
City and State where sworn and signed:

Printed name:

Signature:




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 LIEBOWITZ LAW FIRM, PLLC               GREENBERG TRAURIG, LLP

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                                        Satellite Information Network, LLC


This confidentiality agreement does not bind the Court or any of its
personnel. The Court can modify this stipulation at any time. The
Court will retain jurisdiction over the terms and conditions of this
agreement only for the pendency of this litigation. Any party
wishing to make redacted or sealed submissions shall comply with
Rule 6(A) of this Court's Individual Rules of Civil Procedure.

Dated:         November 2, 2020              SO ORDERED.
               New York, New York




                                             HON. KATHERINE POLK FAILLA
                                             UNITED STATES DISTRICT JUDGE




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